                 RENDERED: AUGUST 23, 2024; 10:00 A.M.
                       NOT TO BE PUBLISHED

               Commonwealth of Kentucky
                         Court of Appeals
                            NO. 2024-CA-0727-WC


MARTIN MARIETTA MATERIALS,
INC.                                                             APPELLANT


                 PETITION FOR REVIEW OF A DECISION
v.             OF THE WORKERS’ COMPENSATION BOARD
                       ACTION NO. WC-23-00617


JAMES STAMPER; HONORABLE
GRANT ROARK, ADMINISTRATIVE
LAW JUDGE; AND WORKERS’
COMPENSATION BOARD OF
KENTUCKY                                                          APPELLEES


                                  OPINION
                                 AFFIRMING

                                ** ** ** ** **

BEFORE: CALDWELL, COMBS, AND KAREM, JUDGES.

COMBS, JUDGE: Appellant, Martin Marietta Materials, Inc., appeals from a

decision of the Workers’ Compensation Board affirming an award of the

Administrative Law Judge. After our review, we affirm.
             On June 20, 2023, Stamper filed an Application for Resolution of

Injury Claim (Form 101) against Martin Marietta, alleging a May 5, 2023,

cumulative trauma injury to multiple body parts. In support of his claim, Stamper

filed the Form 107 Medical Report of John W. Gilbert, M.D.

             Dr. Gilbert examined Stamper on June 15, 2023. His chief complaint

was bilateral knee pain and bilateral lumbar radiculopathy. The attached job

description questionnaire dated June 15, 2023, reflected that Stamper had worked

for Martin Marietta for 12 years. Stamper described his job duties as “Run heavy

equipment, office work, mechanical repair of heavy equipment.” Dr. Gilbert stated

that he reviewed “One to one-and-a half inches of medical records and treatment

records . . . . Of note he has got degenerative changes and osteophytes L4 to S1 on

an x-ray of his lumbar spine dated 12/03/2020.”

             Dr. Gilbert diagnosed “[b]ilateral lumbar radiculopathy and bilateral

reproducible weakness in both knees secondary to 12 years of working in a rock

quarry as a mechanic and operating a dozer.” Dr. Gilbert assigned a combined

30% permanent impairment rating body as a whole impairment rating based upon

the Fifth Edition of the AMA Guides to the Evaluation of Permanent Impairment

(the Guides), attributing 13% for bilateral lumbar radiculopathy and 10% for each

knee. According to Dr. Gilbert, Stamper did not have an active impairment prior to

the injury. Dr. Gilbert opined that the work event as described to him is the cause


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of the impairment found. Dr. Gilbert did not believe that any part of Stamper’s

impairment was attributable to another cause.

             Martin Marietta filed the report of John Cancian, M.D. who saw

Stamper for an Independent Medical Exam (IME) on October 4, 2023. Dr.

Cancian diagnosed lumbar spondylosis without radiculopathy. He opined that

“[t]here is no objective evidence of any degenerative conditions which are more

significant than would be expected of an individual of the claimant’s age and BMI.

As such, there is no evidence of any cumulative injury.” Dr. Cancian did not

believe that either knee condition was caused by cumulative trauma. “Causation

aside,” Dr. Stamper assigned a 0% impairment for the low back, 0% for the left

knee, and a 4% whole person to the right knee based upon the Guides.

             On September 22, 2023, Stamper testified by deposition. At that time,

he was 67 years of age. On February 12, 2012, Stamper began working for a

quarry -- Bluegrass Materials -- which eventually became Martin Marietta, where

he worked until May 5, 2023. Stamper testified that he started as a mechanic on

heavy equipment. He was a mechanic until 2018 or 2019 and then plant manager

until 2023. Stamper described the mechanic work as “[non]stop heavy work on

your knees, climbing inside and out of equipment and just continuously changing

parts . . . a never ending process . . . . And everything’s heavy . . . everything you

handle is heavy . . . .” The work was getting to be too much for him. Stamper


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testified that he had talked to some people in management and that they knew that

he was going to retire early if they did not move him. By 2023, Stamper had been

plant manager for five years. During that time, he was also a dozer operator three

or four months of the year when they were short-handed during the winter.

Stamper did not give management a reason for retiring; he just told them that he

was going to retire.

             Martin Marietta deposed its area production manager, Ed Rose, who

testified that Stamper was plant manager at the Harlan and Cumberland Quarries.

Stamper had previously worked for Bluegrass. In 2018, when Martin Marietta

acquired Harlan Quarry from Bluegrass, Stamper came on as active plant manager,

a position which entailed supervising production of the active quarry and

personnel. Stamper held that position for five years until he retired. According to

Rose, about ten percent of Stamper’s day consisted of administrative-type duties;

the rest involved overseeing the operation and making sure that everything was

going safely. Although Stamper did not have any specific maintenance or

mechanical duties, Rose believed that Stamper “did do some of them and help

out.” Rose agreed that Stamper operated the rental dozer, which entailed taking

topsoil off virgin ground so that they could get a drill in. According to Rose,

Stamper never said that he was retiring due to physical problems. A copy of




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Stamper’s December 14, 2022, retirement letter, advising that his last day of work

would be May 5, 2023, was entered as an Exhibit.

             Stamper testified at the November 28, 2023, final hearing. Asked

about when he changed from heavy equipment mechanic to plant manager,

Stamper testified that “the job came open and I was . . . I was gonna retire because

I . . . I was getting past being able to do the mechanic job. Then they realized that,

so they offered me the position and I took it.” Stamper explained that he was

unable to do the mechanic job from a physical standpoint.

             Stamper testified that he has pain in the upper and lower back “just

about 24 hours a day.” He also has leg pain and knee pain. Lifting increases his

pain which also affects his ability to sit and stand. Stamper testified that he retired

because:

             I was just getting where I couldn’t hardly . . . couldn’t
             stand to sit in a chair all day and ride around in a truck
             and stuff like that. I mean, I was pretty miserable all day,
             and I just felt like it was getting time for me to give it up
             while I was still being able to move any.

             Stamper did not believe he could return to his job as plant manager,

due to “[t]he same ‘ol stuff. Sitting at the desk. I can’t sit very long. And out

walking around in the rock piles and stuff evaluating stuff.” Because of the way he

now felt, Stamper did not believe that he could run the equipment in the winter.




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                 On January 29, 2024, the Administrative Law Judge (ALJ) rendered

an Opinion, Award, and Order, as follows in relevant part:

                 [W]ith respect to plaintiff’s lower back condition, the
                 ALJ is persuaded by plaintiff’s testimony and Dr.
                 Gilbert’s opinions that plaintiff has a work-related
                 cumulative trauma injury. Specifically, plaintiff
                 described his work activities with the defendant
                 employer, before he became a plant manager, as
                 requiring very repetitive bending and heavy lifting in his
                 job as a heavy equipment mechanic. He further indicated
                 that even after becoming a plant manager, he would
                 operate heavy equipment for at least three months out of
                 the year, which he indicated put further trauma to his
                 lower back operating the heavy equipment and a rock
                 quarry. In this regard, Dr. Gilbert’s opinions are simply
                 found more persuasive than the contrary opinions from
                 Dr. Cancian. It is therefore determined plaintiff’s lower
                 back condition is work-related and compensable.

                 The ALJ awarded Stamper permanent partial disability benefits based

upon Dr. Gilbert’s 13% impairment rating for the back and related medicals

pursuant to KRS1 342.020. The ALJ dismissed Stamper’s claim for cumulative

injuries to his knees, being unpersuaded that Stamper had met his burden of proof

on that issue.2

                 On February 1, 2024, Martin Marietta filed a petition for

reconsideration asking the ALJ “to reconsider his opinion as to causation” of



1
    Kentucky Revised Statutes.
2
    Stamper did not appeal the dismissal of his knee claims.

                                                 -6-
Stamper’s low back condition. By Order rendered February 20, 2024, the ALJ

denied Martin Marietta’s petition “as a reargument of the merits of the claim which

have already been decided.”

            Martin Marietta appealed to the Workers’ Compensation Board (the

Board), which affirmed by Order entered on May 17, 2024, as follows in relevant

part:

                   [Martin Marietta] argues Dr. Gilbert’s opinions do
            not constitute substantial evidence, and further argues
            they were based on an incorrect medical history, relying
            on Cepero v. Fabricated Metals Corp., [132 S.W.3d 839            (Ky. 2004).] We disagree. Dr. Gilbert examined
            Stamper and reviewed medical records, including
            diagnostic studies. He explained the basis for his
            opinions. This clearly constitutes substantial evidence
            which can be relied upon by the ALJ in making his
            determinations regarding the issues of work
            relatedness/causation.

            [Martin Marietta’s] reliance on Cepero v. Fabricated
            Metals Corp., supra, is misplaced. This claim is
            distinguishable from Cepero . . . . In Cepero, the
            Supreme Court found a medical opinion erroneously
            premised on the claimant’s egregious omission of
            directly relevant past medical history was sufficient to
            mandate reversal based on an insufficient history
            received by the medical expert. The Court held a
            “medical opinion predicated upon such erroneous or
            deficient information that is completely unsupported by
            any other credible evidence can never, in our view, be
            reasonably probable.” Id.

                   After reviewing the evidence and the ALJ’s
            decision, we conclude Dr. Gilbert was not provided a
            history so inaccurate or incomplete as to render his

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            opinion lacking in probative value. . . . Therefore, we
            find the holding in Cepero v. Fabricated Metals Corp.,
            supra, is inapplicable.

            ...

                   [Martin Marietta] argues Dr. Gilbert’s report does
            not contain the precise language outlined in Haycraft [v.
            Corhart Refractories Co., 544 S.W.2d 222 (Ky. 1976)],
            that Stamper’s work at [Martin Marietta] “probably
            aggravated a degenerative condition” sooner than would
            be expected of a man Stamper’s age and argues it does
            not, therefore, constitute substantial evidence. We agree
            Dr. Gilbert’s report could have more specifically
            described the nexus between Stamper’s work at [Martin
            Marietta] and his finding of injury caused by cumulative
            trauma. However, it is the quality and substance of a
            physician’s testimony, not the use of particular “magic
            words,” that determines whether it rises to the level of
            reasonable medical probability to the level necessary to
            prove a particular medical fact. Brown-Forman Corp. v.
            Upchurch, 127 S.W.3d 615, 621 (Ky. 2004) (citing
            Turner v. Commonwealth, 5 S.W.3d 119, 122-123 (Ky.
            1999)). Dr. Gilbert’s report, combined with all the
            medical evidence, and Stamper’s credible testimony
            regarding his history of back pain constitute substantial
            evidence. The ALJ is charged with determining the
            weight of the evidence. Accordingly, although
            conflicting medical evidence exists, the ALJ chose to rely
            on Dr. Gilbert’s opinions, as opposed to those expressed
            by Dr. Cancian, in finding Stamper’s injuries resulted
            from work-related cumulative trauma. The ALJ could
            reasonably rely upon the totality of the evidence, and his
            determination will not be disturbed.

            Martin Marietta appeals. It contends that the history provided by

Stamper to Dr. Gilbert was so inaccurate as to violate Cepero, supra, and that




                                        -8-
Stamper’s proof does not satisfy the standard required by Haycraft, supra. Once

again, Martin Marietta merely reargues its case.

                   The ALJ has the sole discretion to determine the
            quality, character, and substance of the evidence and may
            reject any testimony and believe or disbelieve various
            parts of the evidence regardless of whether it comes from
            the same witness or the same party’s proof. Paramount
            Foods, Inc. v. Burkhardt, 695 S.W.2d 418 (Ky. 1985). If
            the party with the burden of proof is successful before the
            ALJ, the question on appeal is whether the ALJ’s opinion
            was supported by substantial evidence. Wolf Creek
            Collieries v. Crum, 673 S.W.2d 735 (Ky. App. 1984).
            The Board is charged with deciding whether the ALJ’s
            finding “is so unreasonable under the evidence that it
            must be viewed as erroneous as a matter of law.” Ira A.
            Watson Department Store v. Hamilton, 34 S.W.3d 48            (Ky. 2000); KRS 342.285. When reviewing the Board’s
            decision, we reverse only where it has overlooked or
            misconstrued controlling law or so flagrantly erred in
            evaluating the evidence that it has caused gross injustice.
            Western Baptist Hosp. v. Kelly, 827 S.W.2d 685 (Ky.
            1992).

GSI Commerce v. Thompson, 409 S.W.3d 361, 364 (Ky. App. 2012). We perceive

no such error in the case before us. Quite the contrary. We agree with the Board’s

thorough analysis.

            Accordingly, we affirm.



            ALL CONCUR.




                                        -9-
BRIEF FOR APPELLANT:     BRIEF FOR APPELLEE JAMES
                         STAMPER:
Rodney J. Mayer
John H. McCracken        McKinnley Morgan
Louisville, Kentucky     London, Kentucky




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